Case 23-10554-KBO Doc 203 Filed 09/18/23 Page 1 of 20

Robert Robichaud
4728 E Ruffian Rd
Gilbert, AZ 85297

09/12/2023 085 SEP 18 BM In: 37
Attention: Court Clerk, We Pane,
United States Bankruptcy Court for the District of Delaware MT OFF

824 N. Market Street, 6th Floor, Courtroom #3

Wilmington, DE 19802

Case #23-10554 (KBO)

To: The Court Clerk RE Case #23-10554 (KBO)
Subject: Urgent Request Concerning My Personal Property

Dear United States Bankruptcy Court for the District of Delaware,
| hope this letter finds you well.

| wish to address the matter of my wine collection, currently stored with the company undergoing bankruptcy
proceedings. As of May 2023, my collection consists of 267 bottles, valued at $12,992.00.

While | comprehend the intricacies of bankruptcy cases, | am a customer, not a creditor.

The wine in the Napa, CA facility is my personal property, fully paid for. Enclosed, please find the pertinent
documentation to verify my claim and inventory.

Regrettably, since the company's bankruptcy filing, | have lost access to my wine collection. Due to its sensitive
nature, wine requires a stable, controlled environment to maintain quality and value. While | reside in Arizona,
my collection is housed in California, which inherently introduces retrieval costs. As per our established
agreement, the company has always honored its commitment to bear all shipping expenses for each case |
requested. Unfortunately, since May of 2023, my attempts to contact the company for shipping have gone
unanswered.

Thus, | have no objections to the motion if it ensures the return of my wine, with the associated costs covered
by the debtor. However, should this motion lead to a total or partial loss of my property, | expect to be
compensated for the value of my investment. A swift resolution is crucial to avoid further financial and
material setbacks.

| am available for further discussions to facilitate this process. Thank you for giving this matter your immediate

attention. Bf. -
Warm regards, Le Fa “ OY, /2.. 20 2S

Robert Robichaud STATE OF ARIZON

Contact: 480-433-1642
COUNTY OF MARICOPA MATT HALTORP
= This instrument was acknowledged before me Notary Public - Arizona
This _\ day of SAD 71,2092, Maricopa County
In witness whereof | hereWith set my hand Commission # 608058
and official seal. My Commission Expiras June 24, 2025

NOTARY PUBLIC

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2019 + RED + ZINFANDEL

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2013 * RED * MERLOT

2019 - RED * RED BLEND

2013 - RED - SYRAH

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2021+ WHITE - SAUVIGNON BLANC

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2020 * WHITE - CHARDONNAY

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2015 - RED: RED BLEND

2019 » RED - CABERNET FRANC

2017 * RED « CABERNET SAUVIGNON

2018 * RED + SHIRAZ

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NON-WINE ITEM

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2017 + RED * CABERNET SAUVIGNON

2015 * RED * CABERNET SAUVIGNON

2016 * RED * CABERNET FRANC

2015 * RED * BORDEAUX BLEND LEFT BANK

2014 + RED + PINOT NOIR

2017 » RED * GRENACHE

2018 - RED - PINOT NOIR

2015 « RED * CABERNET SAUVIGNON

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2020 * WHITE * CHARDONNAY

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2017 + RED * RED BLEND

2018 - RED - MERLOT

2017 * RED * TEMPRANILLO

2018 - RED - CABERNET SAUVIGNON

2018 - RED - RED BLEND

2018 * RED * BORDEAUX BLEND LEFT BANK

2015 * RED - GRENACHE BLEND

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2015 + RED - CABERNET SAUVIGNON

2017 * RED * CABERNET SAUVIGNON

2015 « RED + CABERNET SAUVIGNON

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2015 + RED - SANGIOVESE

2018 « RED * RED BLEND

NON-WINE ITEM

2017 - RED « PINOT NOIR

2011 * RED + PINOT NOIR

2018 + RED - CABERNET SAUVIGNON

2014 + RED * GRENACHE

2017 « RED - GRENACHE

2015 « RED + ZINFANDEL

2013 « RED - CABERNET SAUVIGNON

- 2017 « RED + CABERNET FRANC

2016 * RED - SYRAH

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2016 * RED * RED WINE

2017 * RED * BORDEAUX BLEND LEFT BANK

2018 * RED + RED BLEND

2017 * RED + PINOT NOIR

2019 - RED « RED BLEND

| 2016 + RED * CABERNET FRANC

2017 * RED « PINOT NOIR

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NON-WINE ITEM

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OBERT ROBICHAUD .
(490) 493-1642 1 LBS | OF 1
THE a STORE #5070 SHR WT: SEP 2023 |

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SHIP FOR THE DISTRICT OF DELAWARE
| To: UNITED STATES BANKRUPTCY COURT

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